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                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                           January 13, 2022
                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk

                                VICTORIA DIVISION

 In re:                                                  §
                                                         §   CHAPTER 11
 SGR ENERGY, INC.,                                       §   SUBCHAPTER V
                                                         §
                       Debtor.                           §   CASE NO. 21-60090


                                              ORDER
                                     (Relates to Docket No. 56)

        CAME ON for consideration the Application to Employ Tran Singh LLP ("TS") as Counsel
for the Debtor Pursuant to 11 U.S.C. § 327(a) (the “Application”) and the Declaration of Brendon
Dane Singh (the “Declaration”) submitted in support of the Application; the Court hereby finds
that based upon the representations made in the Application and Declaration: (i) Tran Singh, LLP
represents no interests adverse to the Debtor’s estate or its creditors with respect to the matter upon
which it is to be engaged; (ii) Tran Singh, LLP is a “disinterested person” as that term is defined
under § 101(14) of the Bankruptcy Code as provided and disclosed in the Application and
Declaration; and (iii) the employment of Tran Singh, LLP is necessary and is in the best interests
of the Debtor’s estate; it is therefore

          ORDERED that the Application is GRANTED; and

       ORDERED that, in accordance with § 327(a) of the Bankruptcy Code, the Debtor is
authorized to retain Tran Singh, LLP to represent the Debtor as general bankruptcy counsel in this
case under Subchapter V of Chapter 11 of the Bankruptcy Code.

       ORDERED that Brendon Dane Singh shall be, and is, designated as attorney in charge for
these matters.

       ORDERED that subject to further court approval as to amounts, and upon fee application,
Debtor shall be authorized to compensate TS in accordance with its normal billing practice and
reimburse TS for its necessary disbursement and expenses. The allowed fees, disbursements and
expenses of TS shall constitute administrative expenses of the Debtor’s estate. It is further

          ORDERED that TS may submit interim fee applications every 60 days.



          August13,
          January 02,2022
                      2019
